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CERTIFICATE OF SERVICE

I, William A. Hazeltine, do hereby certify I am not less than 18 years of age and that on
this 2nd day of February, 2009, I caused copies of the within Notice of eclamation Demand By
Audio Codes Ltd. And Audiocodes Inc. to be served upon the parties listed below in the manner
indicated and upon those parties who have requested notice via electronic transmission:

Via Email and First Class Mail Via Email and First Class Mail
James L. Bromley, Esquire Derek C. Abbott, Esquire

Cleary, Gottlieb, Steen & Hamilton LLP Morris, Nichols, Arsht & Tunnell LLP
One Liberty Place 1201 North Market Street, 18" Floor
New York, NY 10006 Wilmington, DE 19899-1347

Under penalty of perjury, I declare that the foregoing is true and correct.

February 2, 2009 /s/ William A. Hazeltine

Date William A. Hazeltine
